     Case 5:18-cv-00242-TKW-MJF Document 70 Filed 09/25/20 Page 1 of 2




                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF FLORIDA
                        PANAMA CITY DIVISION

TERRANCE LAMONT BRITTON,

      Plaintiff,
v.                                                Case No. 5:18cv242-TKW-MJF
RUSSELL VOYLES, et al.,

      Defendants.
                                           /

                                    ORDER

      This case is before the Court based upon the magistrate judge’s Report and

Recommendation (R&R) (Doc. 68). In response to the R&R, Plaintiff filed a

document titled “A Letter Reguarding [sic] my dismissal Waiver of Reply” (Doc.

69). The Court will treat this filing as an objection pursuant to Fed. R. Civ. P.

72(b)(2).

      The objection does not provide any justification for Plaintiff’s failure to

comply with the court orders discussed in the R&R, nor does it clearly articulate

what portions of the R&R he is challenging. Nevertheless, the Court has reviewed

the case file de novo and, based on that review, the Court agrees with the magistrate

judge’s determination that this case is due to be dismissed for failure to prosecute

and failure to comply with court orders. Accordingly, it is

      ORDERED that:
Case 5:18-cv-00242-TKW-MJF Document 70 Filed 09/25/20 Page 2 of 2




1.    The R&R is adopted and incorporated by reference in this Order.

2.    This case is DISMISSED, and the Clerk shall close the file.

DONE and ORDERED this 25th day of September, 2020.

                         T. Kent Wetherell, II
                        T. KENT WETHERELL, II
                        UNITED STATES DISTRICT JUDGE




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